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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                           :           CASE NO. 17-64941-SMS
                                                 :
ROGER CARROLL BURGESS,                           :           CHAPTER 7
                                                 :
         Debtor.                                 :
                                                 :



   MOTION FOR APPROVAL OF SETTLEMENT OF PRODUCT LIABILITY CLAIM
 UNDER RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
    REQUEST TO MAKE CERTAIN PAYMENTS IN ACCORDANCE WITH SAME

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Roger Carroll Burgess (“Debtor”), by and through undersigned

counsel, and files this Motion for Approval of Settlement of Product Liability Claim under Rule 9019

of the Federal Rules of Bankruptcy Procedure and Request to Make Certain Payments in Accordance

with Same (the “Motion”), and respectfully shows this Court the following:

                                     Jurisdiction and Venue

       1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).

                                           Background

                                     a. General Background

       2.    On August 28, 2017 (“Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 7 of Title 11 of the United States Code, and initiated Case No. 17-64941-SMS (the

“Bankruptcy Case”).



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       3.    Trustee was thereafter appointed and remained the duly acting Chapter 7 trustee in this

Case. On September 22, 2017, the Case was dismissed for Debtor’s failure to pay filing fee. [Doc.

No. 12]. On October 6, 2017, the Court entered an Order vacating the dismissal and extending the

deadline to object to discharge and dischargeability. [Doc. No. 18].

       4.    On August 2, 2018, the Court entered an order discharging Debtor and closing the

Bankruptcy Estate. [Doc. No. 39].

       5.    On January 20, 2021, Nancy J. Gargula, the then acting United States Trustee for

Region 21, filed a Motion to Reopen after the Trustee was contacted by an attorney representing

the Debtor in a product liability case (the “Litigation”) and regarding a proposed settlement and a

proposed net payment to the Debtor (the “Settlement”) regarding a pre-petition product liability

claim (the “Claim”). On January 21, 2021, the Court granted the Motion to Reopen the Case.

[Doc. No. 42].

       6.    Trustee was thereafter reappointed the Chapter 7 trustee in the Case. [Doc. No. 49].

       7.    Trustee has investigated the Claims related to the Litigation and the proposed Settlement.

       8.    On February 25, 2021, Trustee filed his Application to Appoint Attorney for Trustee

[Doc. No. 60], and the Court entered an Order [Doc. No. 62] on February 26, 2021 appointing

Arnall Golden Gregory LLP as attorneys for Trustee.

       9.    The deadline to file proofs of claim in this Case was May 5, 2021. [Doc. No. 54].

                                            b. The Claim

       10.   At the commencement of the Bankruptcy Case, a bankruptcy estate was created for

under 11 U.S.C. § 541(a) (collectively, the “Bankruptcy Estate”), and that Bankruptcy Estate

includes all Debtor’s legal or equitable interests in property as of the commencement of the

Bankruptcy Case and any interest in property acquired after commencement of the case. 11 U.S.C.

§ 541(a)(1) and (7) (2017).
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       11.   The Claim is property of the Bankruptcy Estate.

       12.   On May 13, 2021, Trustee filed Trustee’s Motion for Appointment of Special Counsel

[Doc. No. 68], and the Court entered an Order [Doc. No. 69] on May 14, 2021, authorizing the

retention of Matthews & Associates; Freese & Goss; and J. Shafer Law (collectively, “Special

Counsel”) as special counsel for Trustee.

                                  c. Debtor’s Allowed Exemption

       13.   On April 8, 2021, the Court entered an order allowed Debtor a claimed exemption in

the Claim in the amount of $21,160 (the “Exemption”). [Doc. No. 66].

                                    d. The Proposed Settlement

       14.   Following negotiations, and subject to the approval of this Court, the Claim has been

settled (the “Settlement”).

       15.   An offer has been made to settle the Claim for a total gross settlement amount of

$115,530.95 ("Gross Settlement Amount").

       16.   The aggregate settlement funds are currently held in a settlement trust, which includes

the funds of the Claim. The trust has been approved as a Qualified Settlement Fund (“QSF”) by

the settlement court, which retains continuing jurisdiction over the QSF, including all payments

from the settlement trust. The Trustee of the QSF (the “Settlement Fund Trustee”) has been

approved to oversee the distribution of funds from the QSF and all payments from the QSF shall

be made by the Settlement Fund Trustee.

       17.   In accordance with the terms of the Settlement Agreement, a portion of the Settlement

Award will be used to satisfy all medical claims related to or arising from the Claim. Pending the

Court’s approval, the holders of these claims have agreed to certain reductions in the amounts

owed to satisfy their claims or demands related to or arising from the Claim. These reductions are

set forth in the settlement statement attached hereto and incorporated herein by reference as Exhibit
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“A” (the “Settlement Statement”). Certain fees, costs and expenses under the settlement must be

paid and/or withheld by the Settlement Fund Trustee and paid to the appropriate recipients. If

awarded by the Court,1 Special Counsel will be paid fees in the amount of $46,212.38 (or 40% of

the gross settlement amount of $115,530.95, less costs) and reimbursement of expenses. If

approved by the Court, the Medical Lien Holders will be paid a total of $9,409.78. If approved by

the Court, the administrative expenses will be paid in the amount of $11,112.54 pursuant to the

court-ordered QSF administration.2 Upon the terms of the settlement being satisfied, and the fees,

costs and expenses set forth above being paid by the Settlement Fund Trustee, the net remaining

balance of the settlement proceeds, in the anticipated amount of $48,796.25 (the “Net Proceeds”),

shall be authorized to be distributed by the Settlement Fund Trustee to Trustee.

       18.    As a result, and after payment of Debtor’s allowed Exemption, the Bankruptcy Estate

will have available for distribution under 11 U.S.C. § 726 the remaining $27,636.25, calculated as

follows:

                                       Gross Settlement                $115,530.95

                               Satisfaction of Medical Liens             $9,409.78
                                    Costs and Expenses                  $11,112.54
                              Special Counsel Attorney’s Fees           $46,212.38
                                    Debtor’s Exemption                  $21,160.00

                                         Net to Estate                  $27,636.25

                                               Relief Requested

       19.    Trustee requests an order from the Court approving the Settlement and authorizing




1
        Contemporaneously with the filing of this Motion, Trustee has filed an application to approve the fees and
expenses of Special Counsel. A portion of the fees awarded will be paid to a plaintiff steering committee, as ordered
by the United States District Court.
2
         These expenses are further explained in the Settlement Statement attached hereto as Exhibit “A”.


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Trustee to settle the interest of the Estate in the Claim under the terms set forth herein.

       20.     Trustee requests authority for the Settlement Fund Trustee, on behalf of the Trustee or

as a constructive distribution under 11 U.S.C. §326, to pay the above noted fees and costs,

including the medical liens at the reduced amounts set forth in the attached Exhibit “A.”

       21.     Trustee requests authority from the Court to pay Debtor his allowed Exemption.

                                        Basis for Relief Requested

       22.     Rule 9019(a) of the Bankruptcy Rules provides, in pertinent part: “On motion by the

trustee and after notice and a hearing, the court may approve a compromise or settlement.” Fed.

R. Bankr. P. 9019.

       23.     The standard in the Eleventh Circuit for determining whether to approve a

compromise or settlement pursuant to Rule 9019(a) is articulated in Wallis v. Justice Oaks II, Ltd.

(In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990):

         When a bankruptcy court decides whether to approve or disapprove a proposed
         settlement, it must consider:

                 (a) The probability of success in the litigation; (b) the difficulties, if
                 any, to be encountered in the matter of collection; (c) the complexity
                 of the litigation involved, and the expense, inconvenience and delay
                 necessarily attending it; (d) the paramount interest of the creditors
                 and a proper deference to their reasonable views in the premises.

Id. at 1549.

       24.     Under the standard set forth above, Trustee believes that the Court should grant the

Motion and approve the Settlement.

       25.     Trustee asserts that the terms of the Settlement fall well within the range of

reasonableness for a settlement of this matter and will meaningfully benefit the Debtors’

Bankruptcy Estate and its creditors, and therefore respectfully requests that the Court grant the

Motion.


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         WHEREFORE, having filed the Motion, Trustee prays that the Court grant the Motion;

approve the Settlement; authorize Trustee, through the Settlement Fund Trustee, to make the

payments requested herein; and grant Trustee such other and further relief as it deems just and proper.

         Respectfully submitted this 17th day of September, 2021.

                                               ARNALL GOLDEN GREGORY LLP
                                               Attorneys for Trustee

                                               By:/s/ Michael J. Bargar
                                                  Michael J. Bargar
                                                  Ga. Bar No. 645709
171 17th Street, NW, Suite 2100                   michael.bargar@agg.com
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                             EXHIBIT “A” FOLLOWS




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2905 SACKETT STREET
HOUSTON, TEXAS 77098
                                                  MATTHEWS & ASSOCIATES                                                                   244 FIFTH AVENUE # 2882
                                                                                                                                        NEW YORK, NEW YORK 10001
888-520-5207                                                  ATTORNEYS & COUNSELORS AT LAW                                                         888-520-5207
713-535-7135 FAX                                                                                                                                  FAX 713-535-7135
                                                                         www.dmlawfirm.com


                                                                                                  STATEMENT

Claimant: Roger Burgess                                                  Case No. 307776                                                           December 8, 2020

TOTAL GROSS SETTLEMENT: ................................................................................................................. $ 115,530.95

    GROSS ATTORNEYS’ FEES* (40% of Gross Payment): .......................................................... LESS: $                                          46,212.38
         *Per contract. Multiple law firms are sharing the attorney’s fees and this does NOT in any way increase your
         TOTAL fees paid.

               The total attorneys’ fees will be divided as follows:
                  Court Appointed Common Benefit Attorneys ............................... $ 16,751.99
                  Matthews & Associates.................................................................. $ 13,257.18
                  Freese & Goss................................................................................ $ 13,257.18
                  J.Shafer Law .................................................................................. $ 2,946.04

                                                                                            SUBTOTAL (after fees) .......................... $                 69,318.57

    COSTS & EXPENSES:................................................................................................................ LESS: $                  11,112.54
      Details:
              Court Ordered Common Benefit Assessment Expenses................ $ 5,776.55
              General Expenses........................................................................... $ 4,195.25
              Case Expenses.............................................................................. $ 1,140.74
                                                                                 SUBTOTAL (after fees & expenses) ...... $                                     58,206.03


    LIENS: ......................................................................................................................................... LESS: $    9,409.78
       Details:

                     Private Lien - Finalized................................................................ $ 8,734.78
                     Medicare Lien - Finalized............................................................ $            0.00
                     Medicaid Lien - Finalized............................................................ $            0.00
                     Less Lien Resolution Fee............................................................. $ 475.00
                     Less Medicare/Medicaid VOE Fees ............................................ $ 100.00
                     Less QSF Administration Fees .................................................... $ 100.00
                     EIC Fee ........................................................................................ $ 0.00

                                 CLAIMANT’S NET SHARE OF GROSS PAYMENT **....................... ............ $                                                48,796.25

By cashing the enclosed check, the Client named above:
    approves the foregoing accounting and authorizes disbursements as listed above;
    acknowledges that his/her attorneys and their employees are not on notice of any right of subrogation (unless
       reflected above), and if any other party/company/provider has subrogation rights or an assigned interest,
       Client agrees to pay for the same;
    Death cases only: By cashing this check, client represents that he/she has been authorized by the Estate of
       the decedent, if any, or any individual holding a superior interest in these settlement proceeds, to receive
       the settlement funds herein. Client further acknowledges that if there are others entitled to some or all of
       the settlement proceeds, he/she is accountable to them.
**Claimant’s Net Share of Gross Payment equals TOTAL GROSS SETTLEMENT minus GROSS ATTORNEYS’ FEES minus COSTS & EXPENSES minus LIENS
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                                   CERTIFICATE OF SERVICE

        This is to certify that I have this day served copy of the Motion for Approval of Settlement of

Product Liability Claim under Rule 9019 of the Federal Rules of Bankruptcy Procedure and Request

to Make Certain Payments in Accordance with Same by depositing in the United States mail a copy

of same in a properly addressed envelope with adequate postage affixed thereon to assure delivery to:

Office of the United States Trustee
362 United States Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Rd, NW, Suite 555
Atlanta, GA 30305

Roger Carroll Burgess
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Augusta, GA 30909

Wendy C. Elsey
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Peter de law Cerda
Freese & Goss
3031 Allen Street, Suite 200
Dallas, TX 75204

Jeremy Shafer
J.Shafer Law
1010 Turquoise Street, Suite 201
San Diego, CA 92109


        This 17th day of September, 2021.

                                                       /s/ Michael J. Bargar
                                                       Michael J. Bargar
                                                       Georgia Bar No. 645709




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